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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA,

        -   v. -                                No. 18-cr-204 (NGG) (VMS)

    CLARE BRONFMAN,

                                   Defendant.




                          CLARE BRONFMAN’S RESPONSE TO
                    THE GOVERNMENT’S SENTENCING MEMORANDUM




   Ronald S. Sullivan, Jr., Esq.
   Ronald Sullivan Law, PLLC
   1300 I Street, N.W.
   Suite 400 E
   Washington, D.C. 20005
   (202) 935-4347

   Duncan Levin, Esq.
   Tucker Levin, PLLC
   230 Park Avenue, Suite 440
   New York, New York 10169
   (212) 330-7626

   Attorneys for Defendant Clare Bronfman
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                                              INTRODUCTION

           The Department of Justice’s sentencing submission in this case is shocking in its

   recklessness with the facts. The government seeks to imprison Clare Bronfman for five years

   based on a number of assertions that are unproven and false and that Clare has never had the

   meaningful opportunity to contest. And they are seeking to do so in the midst of a global health

   pandemic that recently shut down the Eastern District of New York. Clare Bronfman pleaded

   guilty pursuant to a plea agreement and took full responsibility for what she did. Now, more than

   two years after she was charged, the government is attempting to convict her through a sentencing

   memorandum of a wide swath of criminal activity based on assertions that are simply wrong and

   that Clare has never had the opportunity to address in any meaningful way. This approach is

   without precedent and a violation of Clare’s right to fundamental due process. We could not object

   more strenuously and now respectfully renew our request that Clare either be sentenced based on

   the conduct to which she pleaded guilty or be able to show at a Fatico1 hearing the wrongfulness

   of the government’s sweeping allegations against her.2                 An unfortunate number of the


   1
     Since the government’s submission specifically attempts to rely on the PSR, which we believe is
   fundamentally flawed and incorrect, we renew our request for a Fatico hearing so that the record can be
   corrected to show Clare’s lack of involvement in any of the core criminal conduct involving Keith Raniere
   and the other co-defendants. To be clear, Clare is not seeking to delay sentencing; on the contrary, she is
   ready to be sentenced for the crimes to which she pleaded guilty to as expeditiously as possible, since she
   has been under home confinement for the past 26 months, which has taken a heavy toll on her. (The
   government does not seem to believe that 26 months in “luxurious accommodations” is any reason for
   leniency, see Gov’t. Memo at 62-63. The truth is that Clare lives in a relatively modest apartment in
   downtown Manhattan. The government ignores the toll of being confined to an apartment but for a few
   hours a week, for 26 months, seven of which have been in the midst of a global pandemic. The last two
   years have been the hardest in her life, and she has not been able to speak to or be with most of her closest
   friends and support network the entire time. Additionally, her family lives in Europe and given the current
   state of the world, she has not seen them for nine months.)
   2
    Although she reserves her rights to testify, we also respectfully object to the Court’s admonition at the
   most recent conference that Clare must testify at a Fatico hearing. See Mitchell v. United States, 526 U.S.
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   government’s allegations are flatly and demonstrably wrong as a matter of fact. To rely on them

   violates Clare’s due process rights.

           What Clare did, we respectfully submit, should be punished with three years of probation.

   This is not an unreasonable request. The core of her conduct was violations of harboring an illegal

   alien and facilitating the use of someone’s credit card. What she did not do is anything at all

   related to the core of the conduct alleged against her co-defendants. Nothing she was ever accused

   of, or convicted of, relates to the so-called “NXIVM case.”

           To be very clear, what the government is attempting to do, through its sentencing

   memorandum and its PSR, is to convict Clare of “fund[ing] and promot[ing] a criminal enterprise

   led by her co-defendant Keith Raniere.” Gov’t. Memo at 1. That is not what the plea agreement

   provided; that is not what in fact happened; and it is unfair and a violation of Clare’s fundamental

   rights under the Due Process clause to level such untested and factually incorrect accusations in a

   sentencing memorandum and Probation report.




   314, 316-17 (1999) (“Two questions relating to a criminal defendant's Fifth Amendment privilege against
   self-incrimination are presented to us. The first is whether, in the federal criminal system, a guilty plea
   waives the privilege in the sentencing phase of the case, either as a result of the colloquy preceding the plea
   or by operation of law when the plea is entered. We hold the plea is not a waiver of the privilege at
   sentencing. The second question is whether, in determining facts about the crime which bear upon the
   severity of the sentence, a trial court may draw an adverse inference from the defendant's silence. We hold
   a sentencing court may not draw the adverse inference.”). Along similar lines, we also wish to briefly
   address a point brought up by the Court at a recent conference that Clare’s former counsel hired Michael
   Avenatti to represent her at a meeting with the U.S. Attorney. Clare relied upon former counsel’s advice,
   and that counsel has now been replaced by Clare’s current counsel. That said, we do respectfully ask the
   Court to disregard any of her testimony at the Curcio hearing as she was required to testify without the
   benefit of being able to confer with counsel, to which we also object.



                                                         2
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                CLARE IS CONTRITE, REMORSEFUL, AND DEEPLY SORRY
                            FOR HER OFFENSE CONDUCT

          Before turning to the government’s many contortions of fact and innuendo in this case, it

   is essential to Clare that the Court understands that she is truly contrite and remorseful in her

   expressions of remorse for what she pleaded guilty to: namely, one count of conspiracy to conceal

   and harbor an alien for financial gain in violation of 18 U.S.C. § 1324(a)(1)(A)(iii) and one count

   of fraudulent use of identification in violation of 18 U.S.C. §§ 1028(a)(7), 1028(b)(1)(D) and

   1028(c)(3)(A). The government is seeking to further punish Clare for not being contrite about

   crimes she has never been charged with or been offered the due process to contest. We trust that

   the Court will reject the government’s clear attempt to falsely state that she has not acknowledged

   guilt. See Gov’t. Memo at 58 (arguing that “her unwillingness to accept responsibility for her

   conduct . . . warrants significant consideration by this Court). She pleaded guilty and took full

   responsibility for what she did. She still does. She fully accepts this Court’s judgment of

   punishment, as she made plainly clear in her letter to Your Honor. In her sentencing memorandum,

   Clare specifically noted that “[a]t the outset, with regard to the charges that Clare actually pleaded

   guilty to, she has been contrite in her guilt, recognizing the mistakes of her actions. That is true to

   this day.” See Clare Bronfman Memo at 2. We hope to be clear in this assertion: Clare stands

   ready to be sentenced by this Court and is deeply sorry for her violations of law.

          That being said, Clare’s fervent hope is that the Court will see through the government’s

   blatant efforts to use unproven and incorrect assertions of fact – mostly elicited as uncontested

   “facts” in the trial of Keith Raniere (to which Clare was not a party) -- as a basis for an upward

   enhancement. She cannot comment upon or apologize for the actions of her co-defendants of

   which she had no knowledge, and in which she did not participate.




                                                     3
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                 CLARE BRONFMAN DID NOT FUND OR PROMOTE ANY
               CRIMINAL ACTIVITY BY KEITH RANIERE OR ANYONE ELSE:

                                 CLARE DID NOT FUND A SEX CULT


           What the government is trying to do in its sentencing submission is to pervert the process

   of ascertaining a fair and just punishment by casting a pall of innuendo over these proceedings in

   violation of Clare’s constitutional rights.3 The government far oversteps by making claims like:

   “Through her unwavering support of Raniere, financial and otherwise, Bronfman enabled him to

   perpetrate his crimes.” Gov’t. Memo at 34. The government’s filing seeks an upward variance

   to address “the extraordinary harm caused to the victims by her conduct,” see id. at 32, or because

   of her “obstructive conduct,” see id. at 46. Let it be very clear: Clare Bronfman did not know

   about DOS, had nothing to do with DOS, and did not fund DOS. And when the government

   references “victims,” we fully acknowledge that the government will seek to bring crime victims

   to address the court in Mr. Raniere’s case; however, as to Clare Bronfman, there is only one victim

   of the conduct to which she pleaded guilty:                      Clare’s conduct simply did not involve

   any additional victims, and we object to the government’s characterization otherwise. Clare

   Bronfman renounces sex trafficking and human trafficking in their entirety: full stop.




   3
     See Townsend v. Burke, 334 U.S. 736, 741, 68 S.Ct. 1252, 92 L.Ed. 1690 (1948) (It “is inconsistent with
   due process of law” for a defendant to be “sentenced on the basis of assumptions . . . which [a]re materially
   untrue.”); Torres v. United States, 140 F.3d 392, 404 (2d Cir. 1998) (due process “requires . . . that a
   defendant not be sentenced based on materially false information); id. (citing Townsend v. Burke, 334 U.S.
   at 740-41 (1948) (a defendant must “be given notice and an opportunity to contest the facts upon which the
   sentencing authority relies in imposing the sentence,” and that a defendant “not be sentenced based on a
   material misapprehension of fact.”). In fact, it is well established that “material false assumptions as to any
   facts relevant to sentencing, renders the entire sentencing procedure invalid as a violation of due process.”
   United States v. Malcolm, 432 F.2d 809, 816 (2d Cir. 1970).



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              We are troubled by and condemn the government’s approach in this case particularly

    because there is no evidence in the record anywhere to support many of the gross exaggerations,

    inuendo, and untruths in the government’s sentencing submission. Even more, in many instances,

    clear facts contradict the government’s assertions. The United States is seeking to lay the blame

    for DOS at Clare Bronfman’s feet because she has a large checkbook. That is inappropriate. In

    full recognition of her role in NXIVM, the government never charged Clare with anything related

    to human or sex trafficking and permitted her (and only one other defendant) to plead guilty to

    non-RICO charges.4

              The United States maintains that the “Court is familiar with the factual background and

    offense conduct in this case, having presided over the six-week trial of Bronfman’s co-defendant

    Keith Raniere.” See Gov’t. Memo. at 2. The fallacy of the government’s logic is evident by the

    words themselves: the trial of Keith Raniere. Clare was not on trial and did not have the benefit of

    competent counsel utilizing what is “beyond any doubt the greatest legal engine ever invented for

    the discovery of truth”: cross examination to challenge both falsehoods and mischaracterizations.

    3 Wigmore, Evidence §1367, p. 27 (2d ed. 1923). Thus, the government’s sentencing submission

    relies on alleged conduct that: (1) is not what Clare was charged with; (2) is not what Clare pleaded

    guilty to; and (3) is factually incorrect with respect to her role at NXIVM. It is a violation of due

    process to ask the Court to rely upon facts that we have never had a meaningful opportunity to

    explore and contest.5 Clare should be sentenced based on the conduct she pleaded guilty to or



    4
      The government now inexplicably and incoherently argues that “[t]he plea agreement reflects the
    government’s belief that the Guidelines dramatically understate the seriousness” of the criminal conduct.
    Gov’t. Memo at 35.
    5
        See U.S. CONST. amend. VI.



                                                       5
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    facts that have been established through due process of law. The government should not be

    permitted to, in effect, bring new charges against Clare Bronfman in its sentencing memorandum.

            It is particularly troubling that the government, in seeking to advance incorrect and

    unproven allegations does so in such an inflammatory and imprecise way. It makes the deprivation

    of Clare’s constitutional rights more significant and the prejudice more difficult to overcome. It

    adds insult to injury for the government to seek to introduce these so-called facts via a sentencing

    memorandum and not in a contested courtroom proceeding designed to separate fact from mere

    allegation. The government and Probation largely rely on demonstrably false assertions of “fact”

    from Keith Raniere’s trial.

            By way of example, to easily highlight for the Court, the below grid analyzes the

    government statements on page 1 – the very first page, only – of the government’s sprawling 71-

    page submission. It compares the governments suggestions, overtones, illusions, innuendo, and

    invitations to infer the truth:

     Government Inuendo and Falsehood                    The Truth

     “There can be little doubt that Raniere would       When the government refers to “the crimes,”
     not have been able to commit the crimes with        they are referring to human and sex trafficking
     which he was convicted were it not for              and forced labor, among other things. These
     powerful allies like Bronfman.” (Gov’t. Memo        crimes hardly required millions of dollars, and
     at 1.)                                              NXIVM was profitable every year, having
                                                         nothing to do with Clare Bronfman. These
                                                         sweeping statements have no basis in reality
                                                         and are simply untrue. Furthermore, Clare’s
                                                         monetary support was not for any criminal
                                                         activity, and the government has never charged
                                                         Clare with doing that. The funds she gave and
                                                         loaned were predominantly for an unrelated
                                                         commodities deal, and what she did loan to
                                                         NXIVM was all done without any knowledge
                                                         of any illegality or wrongdoing and was done




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                                                             to support an endeavor in which she deeply
                                                             believed.
        “Bronfman spent millions of dollars of her           Clare’s support was entirely for NXIVM, or
        inherited fortune on Raniere’s endeavors.”           viable business investments. The word
        (Gov’t. Memo at 1.)                                  “endeavors” is innuendo, and Clare never
                                                             funded criminal activities.
        “She pursued Raniere’s accusers and critics by       At bottom, Clare’s legal efforts were entirely
        dispatching powerful teams of lawyers, private       non-frivolous and well supported. All of these
        investigators and public relations firms to          efforts were intended to support an
        attempt to discredit them and dredge up              organization in which she deeply believed.6
        information that could be used to undermine
        their claims.” (Gov’t. Memo at 1.)
        “Even now—after Raniere’s convictions for            The government makes sweeping statements
        sex trafficking, forced labor, alien smuggling       throughout without any basis of fact
        and child exploitation offenses—Bronfman             whatsoever. NXIVM and Mr. Raniere changed
        continues to support Raniere.” (Gov’t. Memo          Clare’s life and she stands by both the
        at 1.)                                               organization and Mr. Raniere for the
                                                             tremendous good they did for thousands of
                                                             people. Clare stands by her friends, but she
                                                             does not stand by sex trafficking, forced labor,
                                                             or any other criminal conduct, period. That
                                                             allegation is exactly the type of innuendo that
                                                             is so reckless.7




    6
       There is no doubt that Clare assisted with and oversaw certain litigation related to NXIVM. The
    government mocks this litigation and argues that “[s]he pursued Raniere’s accusers and critics by
    dispatching powerful teams of lawyers, private investigators and public relations firms to attempt to
    discredit them and dredge up information that could be used to undermine their claims.” (Gov’t. Memo at
    1.). What is remarkable about this, however, is that their sentencing memorandum then does not actually
    inform the Court about what any of this litigation in fact was. The litigation in which Clare was involved
    was not at all malicious or frivolous. We would very happily provide the Court with further information
    about these lawsuits, but the government is simply incorrect that any of this litigation was used to threaten
    or subdue crime victims. It is, quite simply, an outrageous suggestion. Nothing could be further from the
    truth, and it is deeply troubling that the government has not taken the time to explain what this litigation
    was about. This is yet another item that calls for a Fatico hearing.
    7
      A court may not punish an individual by imposing a heavier sentence for the exercise of first amendment
    rights. . . . A sentence based to any degree on activity or beliefs protected by the first amendment is
    constitutionally invalid.” United States v. Stewart, 686 F.3d 156, 169 (2nd Cir. 2012) (quoting United States
    v. Lemon, 723 F.2d 922, 937-38 (D.C. Cir.1983). While “the defendant's support for illegal activity” may
    be appropriately considered, “it is impermissible to sentence a defendant more harshly based on associations
    that do not relate to specific criminal wrongdoing, for example, or for beliefs that some might find morally
    reprehensible, or for critical statements made in public because they were made in public.” Id. at 169.



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            And that is just the first page. The entire filing is replete with issues and errors like this.

           For example, the government writes that “[e]ven after Raniere’s conviction, Bronfman has

    continued to wire funds to the ‘KAR 2018 Trust,’ the trust she created for the benefit of Raniere

    and               son. See PSR ¶ 187. That is not true. The government is presenting false

    information to the Court. The truth is that Clare made two payments, both of $250,000, on June

    4, 2018 and June 13, 2018, both prior to Clare’s arrest. Keith Raniere was convicted on June 19,

    2019. Furthermore, what is wrong with funding this trust anyway? The trust is for the sole benefit

    of a young child, whose father is in jail. Clare cares about the child and his mother and has known

    them for years. Nothing inures to Mr. Raniere’s benefit. Clare selflessly set up a trust to ensure

    that an innocent to all of this - a young child – would continue to have a roof over his head, food,

    education and medical care. He is three years old.

           “For many years,” the government writes, “Clare Bronfman used her extraordinary wealth

    and social status to fund and promote a criminal enterprise led by her co-defendant Keith Raniere.”

    Gov’t. Memo at 1. That is wrong: Clare Bronfman never knowingly funded a criminal enterprise.

    Why is the government saying this now? It did not charge her with this behavior, and she did not

    plead to it. The government also says that that “[f]or years, Bronfman leveraged her colossal

    wealth to recruit individuals, often women with no legal status in the United States, into Nxivm-

    affiliated organizations.” Gov’t. Memo at 34. Here, the government makes sweeping and

    unprovable claims with no support or facts that would support such a conclusion. As to how Clare

    allegedly used her wealth to further the aims the government alleges, its papers are silent on details.

    Such a conspicuous silence is necessary because the stubborn facts revealed by an accounting of

    Clare’s financial relationship with NVIVM would compel a different conclusion. This is yet




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    another reason a Fatico hearing is urgently required to separate fact from unproven innuendo.

    Furthermore, the truth is that Clare enrolled very few people whatsoever – and Sylvie was the only

    person Clare enrolled that she helped with a visa and was the only person related to the

    government’s case against Mr. Raniere – though not through Clare – in any way. None of the

    people she enrolled are famous or wealthy, so it is unclear what the government is trying to

    accomplish with its innuendo, loose language, and untethered accusations. The government is

    trying, once again, to inflate Clare’s role so that the Court will see her as responsible.

           The government seems somewhat unable to separate Clare’s support for NXIVM, an

    institution that she loved and continues to believe in, from her lack of knowledge of DOS. NXIVM

    is not DOS. DOS was a secret society that she knew nothing about. As she made clear in her

    sentencing submission, Clare would never knowingly fund a sex cult, and she renounces human

    trafficking and sex trafficking unequivocally. There is no evidence to the contrary. That Clare

    has to even give voice to this fact in a sentencing memorandum further shows the prejudicial state

    of the record.

           The court noted, sua sponte, at a recent hearing that Clare Bronfman “wrote a lot of

    checks.” Clare does not deny this. But that does not mean that she had any idea of the activity

    that was revealed at Keith Raniere’s trial. The care and detail that comes with developing reliable

    assertions of fact would show that Clare’s money went to specific activities at an independently

    financially executive coaching business that she thought would improve the world. While the

    government’s papers spill a lot of ink on rebutting a straw-man argument that Clare is asking for

    a special privilege at sentencing, the truth is that, because of Clare’s money, the Department of




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    Justice is treating Clare differently from the other members of NXIVM’s leadership.8 The

    government conflates, at every turn, Clare’s generosity toward an organization whose

    mission was to help people better their lives, and that changed her life with wealth that knew

    no limits between what was right and wrong. The United States writes that:

                     “[w]hat is especially significant about Bronfman’s financial support of
                     Raniere is that it was without any apparent limitation. When Raniere wished
                     to invest in the commodities market, Bronfman simply gave him $67
                     million to do so—with no expectation that he would ever be in a position to
                     pay her back (he didn’t). For this reason, Bronfman’s claim that she did not
                     provide financial support for DOS or otherwise for Raniere’s “personal
                     life,” Def Mem. at 21, makes little sense. Bronfman funded Raniere in all
                     of his endeavors, without question or limitation. The government
                     respectfully submits that Bronfman’s continued loyalty to Raniere and her

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      The government’s memo is dripping with innuendo that Clare is somehow asking for “special treatment,”
    Gov’t. Memo at 1, because of her wealth, which she assuredly is not. In fact, quite to the contrary, she is
    being treated differently by the government than some of the less wealthy board members of NXIVM, since
    there is truly no difference between her involvement and theirs. If anyone is getting “special treatment,” it
    raises the question of why Clare Bronfman is singled out at every turn. As the government writes, “there
    can be little doubt that Raniere would not have been able to commit the crimes with which he was convicted
    were it not for powerful allies like Bronfman,” Gov’t. Memo at 1 (emphasis added). Along those lines, the
    government does seem quite interested in bringing up Clare’s wealth in irrelevant ways that appear to be
    done for the sole benefit of harming the Court’s opinion of her. For example, the government mentions that
    she showed “an astonishing lack of empathy for the financial struggles of others,” Gov’t Memo at 40, and
    that “[s]he is likely one of the most privileged and wealthy defendants to ever appear before this Court for
    sentencing.” Gov’t. Memo at 55; see also id. at 34 (“Bronfman leveraged her colossal wealth . . . ”). As
    Clare’s letters attest, she is an incredibly generous person and giving person, and she loaned millions of
    dollars to an organization she deeply believed in. The number of letters from her employees and colleagues
    in Fiji, for example, attest to the way in which she changed their lives and saved them from financial ruin
    after the last major hurricane. See Exhibits to Clare Bronfman Memo. It is further disappointing that the
    government implies that these letters were somehow written under duress, since Clare owns the property,
    but the authors of these letters – like all of the rest – know that they likely will suffer negative consequences
    for speaking up on Clare’s behalf. It is further quite remarkable that the government seeks to undermine
    NXIVM’s legitimate work, and Clare’s charitable contributions, on behalf of individuals with Tourette’s
    Syndrome, see Gov’t. Memo at 64 n. 28. Remarkably, it seems quite clear that the government has not
    even taken the time to watch the documentary entitled “My Tourette’s,” which very clearly lays out the
    very legitimate and real work done by NXIVM to help patients suffering from Tourette’s. Instead the
    government mocks the work by referring to it as a “study” in quotation marks. We once again respectfully
    invite the Court and government to view this work Tourette’s Syndrome, entitled “My Tourette’s.” The
    Court       may      access     this     documentary         at




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                    substantial financial resources suggest that specific deterrence is of unique
                    concern in this case and counsels in favor of a substantial sentence.”

    Gov’t. Memo at 60 (emphasis added).9 The government continues purposefully to conflate

    NXIVM with DOS, and Clare’s support for the former as tacit approval and participation in the

    latter. Where Clare contends that NXIVM “is now forever associated with criminal activity,” Clare

    Bronfman Memo at 70, the government retorts that NXIVM “was criminal, as a jury has already

    found.” Gov’t. Memo at 63 n. 27 (emphasis added).

            This is simply not true.         NXIVM is not a criminal organization.              NXIVM has

    (appropriately) never faced criminal charges, and if NXIVM were truly a criminal organization,

    far more people associated with its leadership would have been prosecuted. That is false, and

    underscores once again the government’s complete misrepresentation of the difference between

    NXIVM and DOS.

            There are very many good and decent people who loved NXIVM and who benefitted

    immensely from its teachings.          A high-profile entrepreneur, a co-founder of the Black

    Entertainment Network, a Justice of the Arkansas Supreme Court, and an ex-U.S. Surgeon

    General: they and so many others might be surprised to learn that they were all part of a criminal

    enterprise. Many alumni of ESP, including Clare Bronfman, never intended to hurt anyone, never

    intended to traffic people for sex or to break the law in any way. That the government would



    9
      Once again, a major factual error in the government’s brief. Clare did not “simply g[i]ve” $67 million to
    Keith Raniere to invest in the commodities market. Gov’t. Memo at 60. It is astounding that the
    government just says things like this with no factual support. In fact, this investment was made to cover
    calls in the commodities market that were going to financially harm a number of people that Clare cared
    about, so she made the investment to help them, and it certainly was not an easy or flippant decision. In
    the end, she lost money, but there was a good and caring reason that she made this investment. Not just
    “simply giving” Keith Raniere money. Furthermore, Mr. Raniere was very helpful to her in discussing
    investments, some of which she made money on, such as purchasing certain stocks.



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    enter into a plea with Clare Bronfman for two violations of unrelated law and then seek to

    bootstrap those charges into something significantly larger and more nefarious (i.e., that she

    funded a sex cult) is unfair and unjust.

           It is remarkably telling that the government attempts to lay out facts about DOS, which the

    government itself concedes was a “secret organization,” Gov’t. Memo at 18, and then literally has

    nothing to say about Clare Bronfman’s involvement in DOS itself. Instead, the government relies

    on elliptical sentences that invite the reader to speculate -- Sylvie worked for Clare, Monica

    recruited Sylvie for DOS, bad things happened at DOS. This is how the government attempts to

    connect Clare to DOS: by and through a contract employee who was, according to the

    government’s own theory, sworn to secrecy about DOS. (Never mind that the government is

    incorrect and misrepresents that Syvlie worked for Clare for ten years, and never mind that Monica

    recruited Syvlie for DOS ten years after Syvie first came to the United States to work for Clare.)

    The government has not produced – and cannot produce – one check or wire transfer that links

    Clare to DOS. The government has not produced – and cannot produce – one witness who says

    Clare recruited her to DOS. The government has not produced – and cannot produce – one witness

    who says that they told Clare about DOS in defiance of their “master’s” strict orders of secrecy.

    Indeed, the government cannot, in good faith, aver contradictory theories. On the one hand, the

    government contends that DOS was a secret organization that forbad its initiates from disclosing

    information about DOS to anyone. The government further contends that Mr. Raniere’s hold over

    the first-line masters was such that obedience was strict. At Mr. Raniere’s trial, which the

    government relies on so heavily, its own witness testified that Mr. Raniere ordered that no one tell

    Clare about DOS. There is no evidence – anywhere – that anyone invited Clare to join DOS.




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    Despite this, the government, in full sophistic prose, invites the reader of its submission to believe

    that the DOS “slaves” defied their “masters” in just this one instance to secretly tell Clare of its

    existence and solicit her financial support.      It strains credulity to accept such a premise.

    Accordingly, it is appropriate to pull every DOS reference from the PSR and cull it from the

    government’s sentencing submissions. The Court should not rely on any DOS reference. The

    only meaningful fact about DOS relevant to Clare is that it was purposefully kept secret from her.

           To the extent the Court is considering relying on DOS in sentencing, a Fatico is required

    to avoid the prejudice that touches and concerns Clare’s due process rights, among other

    constitutional protections See Gov’t Memo at 20. The discussion of Nicole similarly is entirely

    silent on anything to do with Clare. See id. at 21. Their discussion of Jay is also silent on anything

    to do with Clare. See id. at 20-21. Why would the government engage in a long discussion about

    DOS and then fail to lay out any evidence whatsoever tying Clare Bronfman to any actual

    involvement in it? Because the government has none, and if it believes any evidence exists, then

    Clare should be granted a Fatico hearing.

           Yet, even though the government cannot point to any involvement whatsoever Clare had

    with DOS, the government nevertheless asks the Court to disregard her well-intentioned efforts to

    get to the bottom of allegations that something might be wrong, after the DOS story became public.

    Even though Clare helped hire a well-known and reputable forensic psychologist to interview

    various members of DOS and NXIVM, the government tells the Court to ignore that fact because

    the evidence “suggests” that Clare had “no interest in actually determining the truth about DOS,

    but was simply attempting to quell media and public scrutiny of Raniere and DOS.” Gov’t Memo

    at 47 n. 18 (emphasis added). The government ignores its own witness at Mr. Raniere’s trial who




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    stated that DOS initiates were instructed to “lie” to the investigators Clare hired. According, the

    government asked the jury in Mr. Raniere’s trial to credit testimony that it now, by implication,

    invites the Court to ignore and impute knowledge to Clare when she sought to investigate. It is

    precisely this type of tunnel vision and cherry picking of facts that has painted such a wrong

    impression of Clare’s actions and motivations.

           To further try to bolster a case that Clare “promoted a criminal enterprise led by Keith

    Raniere,” the government then highlights letters that it represents were sent to “Raniere and

    Bronfman” – again attempting to convey that it is fair to infer Clare had knowledge of collateral

    and DOS. The truth of which the government is well aware is that such letters went out to the

    entire board of NXIVM, as well as other leaders and members of NXIVM (Clare was just one of

    a number of board members and other leaders and members in NXIVM receiving these materials).

    The government leaves out this important contextual detail to invite a conclusion not supported by

    any record of fact. On the government theory, these letters must impute foreknowledge to the

    entire NXVIM board or anyone who received such a letter. Of course, such an imputation of

    foreknowledge is not warranted, but by leaving out crucial facts, the government invites this very

    specious conclusion. Significantly, almost none of the many individuals who received these letters

    have ever been charged with a crime by the U.S. government. Presumably, then, the fact of

    receiving one of these letters, on the government’s theory, appears only probative of guilt with

    respect to Clare, but no other. Inasmuch as this form of argument is blatantly inconsistent, the

    government opts simply to omit inconvenient facts in its submission.

           The government also spends much time addressing Clare’s communications with attorneys

    in Mexico, see Gov’t. Memo at 23-26, and implies that she was attempting to silence sex crime




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    victims from coming forward to the authorities. That is not what happened as the clear facts and

    record show, and she would never try to silence crime victims. In fact, Clare was in possession of

    evidence that NXIVM’s computers had been hacked into and that the NXIVM client roster was

    being contacted in Mexico. Misusing NXIVM’s client list to cause harm to the company was

    properly against the law in Mexico, and the attorneys in Mexico took action based on that. There

    was never an intent on Clare’s part to engage Mexican lawyers for the purpose of stifling crime

    victims’ rights to go to law enforcement.

           To further bolster their “promotion of a criminal enterprise” case, the government points

    to an online statement Clare authored in December 2017 – with the benefit of virtually no

    information – in which she supported DOS. Id. at 26. As our initial sentencing submission made

    very clear, she was acting at that time with limited information and did not understand the full

    scope of DOS until Keith Raniere’s trial (and she may never understand the full scope). The

    government attempts to pile up other tidbits of inuendo. For example, the government writes, “As

    media outlets begun [sic] reporting that the United States Attorney’s Office had launched a

    criminal investigation, Raniere stopped using the phone he had previously used for over fifteen

    years and he and Bronfman began using encrypted email accounts.” Gov’t. Memo at 26-27. This

    is yet another blatant misstatement of fact as regards Clare. Clare had maintained the email the

    government references well before the U.S. Attorney’s Office initiated an investigation. But,

    through semantic slight-of-hand, the government implies that both Mr. Raniere and Clare stopped

    using emails in favor of encrypted emails only after the initiation of an investigation. Nearly every

    fact averred by the government is in dispute; the email half-truth is but another example. To deny

    Clare a Fatico hearing on this record prejudices Clare and is fundamentally unfair in violation of




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    her constitutional rights. The government continues to take issue with the fact that Clare set up a

    legal defense fund, see Gov’t. Memo at 27, even though these were some of her best friends in the

    world and she could afford it, and went to great lengths to ensure it was properly administered and

    that she had absolutely no control of it, as was established at the numerous Curcio hearings

    addressing the trust. The government also notes that Clare sought criminal charges against Sarah

    Edmondson, even though these were charges made in good faith.10

                                            OFFENSE CONDUCT

            With regard to the charges that Clare actually did plead guilty to, the government is again

    incorrect on certain factual points. However, we raise these errors not in any way to undermine

    Clare’s acceptance of responsibility but in order to ensure that the factual basis for her sentencing

    is corrected and that the guidelines are calculated accurately. Clare has pleaded guilty and she

    fully accepts responsibility for her violations of two criminal statutes.

            A. The government is attempting to enlarge the criminal activity by alleging more
               than one victim and more than six aliens

            The government is attempting to bootstrap far more serious charges against Clare with a

    disingenuous argument that her conduct involved six or more illegal aliens. Clare was never, in

    fact, charged with any offense that would involve more than one alien. Originally, as the Court

    is aware, she was charged with visa fraud in violation of 18 U.S.C. § 1546(a), for a false

    representation about payment to                 , which was the basis for the visa. Clare is sincerely

    sorry to               for this. The government asked Clare to plead guilty instead to harboring


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       Another factual error in the government submission states that Clare contacted the NYPD regarding
    Sarah Edmondson, Gov’t. Memo at 50, but in fact Clare contacted HSI. But again, the general point is true,
    since Clare had a good-faith basis to believe that Ms. Edmonson committed a crime. There are errors large
    and small in the government’s brief; this is what happens when one party just unilaterally states “facts” that
    have not been properly challenged in a court of law.



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    an illegal alien in violation of 8 U.S.C. § 1324(a)(1)(A)(iii), which she did in order to satisfy the

    government’s request that she forfeit $6 million. Now, they seek to enhance that criminal charge

    by arguing that Clare harbored six or more aliens, which is absolutely not the case.


           B. The government misstates a key fact related to the                    parole and omitted
              key facts

           The Government brief suggests that                 requested a humanitarian parole and was

    denied before the ICE agent approved a parole on questionable grounds. See Gov’t. Memo at 12.

    They make this assertion because it casts more doubt on the validity of the ICE parole. However,

    this statement is factually inaccurate as             was never denied a humanitarian parole. This

    is an additional factual dispute that requires resolution through a Fatico hearing.

           After her visa was canceled by CBP officers in Los Angeles,                 applied for a new

    B1/B2 (visitor) visa from the U.S. Embassy in Mexico City. This visa application was denied.

    Only after the denial of the visitor visa application did             request a humanitarian parole

    through counsel. This request was first made to ICE HSI special agents and was approved --




           Not only did the Government inaccurately suggest that there was a humanitarian parole

    application that was denied before the ICE approval, they fail to mention a few key facts, including

    that U.S. Customs and Border Protection approved a second humanitarian parole for

    after the expiration of the ICE parole. Because there are no allegations that anything inappropriate

    occurred in the approval of this parole, this second parole demonstrates that the parole was based

    on valid grounds and that the decision by ICE to parole             into the U.S. was not so unusual

    as to suggest something inappropriate occurred. As to this point, we invite the Court to read the



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    letter from                                                                                  . See

    Gov’t. Memo at Exhibit A6




           C. The government incorrectly asserts that Clare attempted to keep money out of
              Keith Raniere’s name

           As to the identity theft charges, the government wrongfully and recklessly asserts that

    “Bronfman ignores that the fraudulent use of Pamela Cafritz’s identity was part of a long-running

    scheme to intentionally keep money out of Raniere’s name, thereby evading income tax

    requirements and making it difficult or impossible for creditors or the government to levy on those

    funds.” Gov’t. Memo at 44. That is not what Clare allocuted to, and that is not what happened.

    To the contrary, at the time of the payments, Clare believed the money to belong to Mr. Raniere

    and never intended to keep it out of his name. That is simply untrue and unproven, and more

    evidence of the need for a Fatico hearing.11 In support of its proposition, the government cites to

    trial testimony of Mark Vicente; however, Mr. Vicente would have no basis to testify as a tax

    expert or even as a first-hand fact witness on this issue, and his testimony was not subject to any

    cross examination by Clare’s legal counsel (like so much of what the government relies on).


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                  is Mexican and would not pay U.S. taxes.



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    Furthermore, there is a great deal of evidence demonstrating Clare’s history of tax compliance, as

    well as attempts to ensure that taxes were filed for the various NXIVM companies, and Clare even

    went so far as to hire an outside accountant to assist.


                    CLARE COMMITTED TWO OFFENSES TO WHICH SHE
                      PLEADED GUILTY AND THERE IS ONE VICTIM

       A. There is no basis to order restitution for or hear from multiple purported victims

           The government is seeking to bring multiple crime victims in front of this Court and is

    asking the Court to order Clare to pay restitution to them. There is absolutely no basis for this.

           Of course, crime victims should be heard, and we respectfully submit that the appropriate

    time for these individuals to address the Court will be at Keith Raniere’s sentencing and/or the

    civil case (for which most of them are plaintiffs) -- not Clare’s sentencing. Here there is only one

    victim of the crimes to which Clare pleaded guilty or otherwise had any dealings at all:             .

    We object to the government’s request to have these individuals at Clare’s sentencing or to ask her

    to pay them any restitution for crimes that she did not commit.

           As we believe is quite clear, Clare’s plea and the resulting offense of conviction was related

    to only one alien. Both the transcript of her plea hearing as well as her allocution specifically

    identify Jane Doe 12 as the victim of Count One. Under 18 U.S.C. § 3771(e)(2), a “crime victim"

    is defined as “a person directly and proximately harmed as a result of the commission of a Federal

    offense.” Furthermore, these alleged victims were not named in the original indictment nor were

    they mentioned in Clare’s plea agreement in which she pled guilty to a criminal violation

    concerning the sole victim. The government’s attempt to introduce previously unmentioned

    individuals and their statements in the sentencing hearing is inadmissible as it would violate Ms.

    Bronfman’s Fifth Amendment Due Process right. Furthermore, many of the purported victims of



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    Clare’s criminal activity are plaintiffs in ongoing civil litigation against her, and we believe that

    there are factual inaccuracies, as they relate to Clare’s conduct, in the letters that were submitted

    with the government’s memorandum. Thus, we believe the Court should not hear from these

    purported victims in Clare’s sentencing and should not order restitution for any victims other than
                12



            The government has made many misleading claims about these purported victims,

    including that Clare “had no intention of providing her victims with a living wage.” Gov’t. Memo

    at 34. First, there is only one victim of Clare’s offense conduct. Second, the government’s

    haphazard allegations are factually incorrect. As to              Clare paid for her education, parental

    support, books, medical expenses, a car, and a two-bedroom apartment. (                   victim statement

    stands in stark contrast with the card and gift that she sent to Clare almost a year after Clare was

    indicted.) As to Sylvie, while she was employed by Clare, she was paid a living wage, and even

    when she was employed by other people, Clare continued to support Sylvie with a place to live,

    classes at NXIVM, medical care, and other support.                      never worked for Clare, and the

    government’s own submission acknowledges that Clare paid                     Thus, there is zero evidence

    for this outlandish claim by the government, and it does not relate to the offense conduct at all.




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       On a related point, the government agrees with our analysis that Jane Doe 12 is not a participant in the
    offense of conviction and that there should not be a two-level role enhancement under § 3B1.1(c). See
    Gov’t. Memo at 31 (citing Clare Bronfman Memo at 38.). Nevertheless, given the history of the plea in this
    case, it is disturbing that the government is using this opportunity to argue that the three-level adjustment
    under Section 2L1.1(b)(2)(A) for the smuggling, transporting, or harboring of six or more aliens applies.
    The government amazingly argues that this enhancement is “likely appropriate,” see id. (emphasis added),
    even though they posit this is an academic point if the Court declines to give the two-level role enhancement
    under § 3B1.1(c) because it will not impact the guidelines range. This is far more than a moot point because
    it shows the lengths the government is going to in order to bootstrap much larger criminal charges onto
    Clare’s plea.



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           Furthermore, we invite a close look at the exhibits attached to the government’s sentencing

    submission. While the government cherry picks certain sentences from the letters attached thereto

    as exhibits, none of these passages implicate Clare in any way.

       B. The fine should be on the basis of the nature of the acts pertaining to the particular
          crime, not just Clare’s net worth

           The government is seeking, based on Clare’s plea to two criminal offenses, a statutory

    maximum fine of $500,000. While there is no doubt that Clare can afford it, that does not make it

    right. The fine should be lower and not just based on Clare’s wealth. It should reflect the crimes

    to which she pleaded guilty.


           In general, fines imposed in criminal cases are determined by 18 U.S.C. § 3572 and the

    U.S. Sentencing Guidelines. When determining whether to impose a fine, a court should consider

    several factors set forth in 18 U.S.C. § 3572(a), in addition to those set forth in 18 U.S.C. § 3553(a).

    See id. § 3572(a). The § 3572(a) factors include, inter alia, “the defendant's income, earning

    capacity, and financial resources” and “the burden that the fine will impose upon the defendant,

    any person who is financially dependent on the defendant, or any other person (including a

    government) that would be responsible for the welfare of any person financially dependent on the

    defendant, relative to the burden that alternative punishments would impose.” Id. § 3572(a)(1),

    (2). See also United States v. Hickman, 330 F. Supp. 3d 921, 922-23 (W.D.N.Y. 2018). However,

    courts are only “require[d] . . . to ‘consider’ [the factors outlined under § 3572].” United States v.

    Marquez, 941 F.2d 60 (2d Cir. 1991). When an individual’s financial circumstances do factor in,

    it is to lower or eliminate a fine because a person lacks financial means rather than increase a fine

    in proportion to his or her income. United States Sentencing Guidelines § 5E1.2(a). See also

    Graziano v. United States, 83 F.3d 587, 589 (2d Cir. 1996); United States v. Rivera, 971 F.2d 876



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    (2d Cir. 1992). Within the Eighth Amendment, the Excessive Fines Clause provides that

    “excessive fines [shall not be] imposed.” U.S. CONST. amend VIII. “The Excessive Fines Clause

    limits the government's power to extract payments, whether in cash or in kind, as punishment for

    some offense.” Austin v. United States, 509 U.S. 602, 609-10 (1993) (internal quotation marks

    omitted).


                                                COVID-19

           A. The government is seeking to put a non-violent, first-time offender in prison
              during a public health emergency and claims that the “September 2020” numbers
              are under control (even though the federal courthouse just shut down).


           It is important to address the quite callous arguments by the United States with respect to

    COVID-19, in which they argue that the pandemic does not “supply[] a basis for leniency.” Gov’t

    Memo at 67. We disagree strongly that prison is appropriate in this case, not only because Clare

    is a first time, non-violent offender but also because sending her to prison right now is manifestly

    unjust. Furthermore, even if Clare is not in an at-risk health population, others in the prisons are,

    and given the prisons’ efforts to socially distance at-risk populations, there is no reason to add

    more bodies to the population now unless it is absolutely necessary.

           We simply disagree with the Department of Justice that “the Bureau of Prisons (‘BOP’)

    generally has demonstrated that they are prepared to handle, and are effectively handling, the risks

    presented by COVID-19.” Gov’t. Memo at 67. It is further quite shocking that the government

    would assert that “Bronfman’s claim that the BOP is in the midst of a ‘rapidly-evolving crisis’ is

    not supported by the reality on the ground.”          The government urges, in the sentencing

    memorandum, for us to “look[] at current numbers as of September 2020.” Id. at 69. We agree

    that the Court should. We need not inform this Court that the Chief Judge for the Eastern District



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    of New York shut down the main Brooklyn courthouse from September 3, 2020 until September

    14, 2020 to facilitate cleaning and conduct contract tracing pursuant to CDC protocols after court

    officers tested positive for COVID-19.13

           On September 9, 2020, the Defender Services Office, an organization dedicated to

    upholding individuals’ right to counsel guaranteed by the Sixth Amendment, issued a fact sheet

    regarding the transmission of COVID-19 in federal detention centers. The publication stated that

    the infection rate amongst the incarcerated is four times higher compared to the general population

    and the death rate is twice that of the national rate. According to Joe Rojas, the regional vice

    president of the American Federation of Government Employees Council of Prison Locals, the

    Federal Bureau of Prisons (“BOP”) is making the situation worse, claiming “[BOP is] making the

    virus explode.” Currently, the number of reported deaths of incarcerated individuals is 126 and

    BOP, having knowledge that the majority—93—were at higher risk of complications from

    COVID-19, did not take necessary measures to prevent their avoidable deaths. The publication

    further cited the federal government’s response to COVID-19 at Federal Medical Center (“FMC”)

    Carswell as an example of “a culture of cruelty and disregard for the well-being of incarcerated

    people,” particularly because several inmates who were denied compassionate release on the

    reasoning that they were receiving adequate care at the prison ultimately contracted COVID-19

    and died.14 These occurrences are not unique to FMC. Reports confirmed by The Office of


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      See Frank G. Runyeon, Brooklyn Court Closed After Positive COVID-19 Tests, LAW.COM (September 4,
    2020), https://www.law360.com/articles/1307530?scroll=1&related=1; see also UNITED STATES DISTRICT
    COURT, EASTERN DISTRICT OF NEW YORK https://www.nyed.uscourts.gov (last visited Sept. 20, 2020).
    14
      See Sentencing Resource Counsel for the Federal Public Community Defenders, The Covid-19 Crisis in
    Federal Detention (Sept. 9, 2020), http://www.fd.org/sites/default/files/covid19/sentencing_advocacy
    /9.9.2020_sentencing_resource_counsel_fact_sheet-distribution_copy_0.pdf; see also Coronavirus cases




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    Inspector General (“OIG”) of the DOJ, along with court-appointed experts, like Dr. Michael Rowe

    and Dr. Homer Venters, demonstrate that the conditions in federal prisons promote the inevitable

    spread of COVID-19 among prisoners as “ facilities lack proper cleaning equipment, room to

    social distance, personal protection equipment, or hygiene products.”15

            Courts across the U.S. have “recognized that BOP undertreats or ignores COVID-related

    symptoms, despite CDC findings that COVID-19 can ‘result in prolonged illness even among

    persons with milder . . . illness.’” Id.; see also United States v. McCall, No. 18-cr-95-MHT (WO)

    (M.D. Ala. June 4, 2020) (finding compassionate release is necessary where defendant’s sickle

    cell anemia posed a heightened vulnerability to COVID-19 that the BOP was unable to address at

    the facility housing the defendant); United States v. Cassidy, 17-CR-116S (W.D.N.Y. May 13,

    2020) (finding defendant’s pulmonary and cardiac conditions put him at heightened risk of

    contracting COVID-19 during an outbreak at his facility and thus necessitated defendant’s release

    to home confinement). Cognizant of this fact, courts have seen an influx of petitions for

    compassionate release and have been considerably more likely to grant a modification when

    COVID-19 concerns were paired with additional justifications for release. In a recent decision by

    the Southern District of New York, Judge Lorna G. Schofield granted a defendant's application

    under 18 U.S.C. Section 3582 to modify his sentence after he had exhausted his administrative

    rights through BOP first, and where he had a compromised immune system. The government did

    not oppose his application. See United States v. Campagna, No. 16 CR. 78-01 (LGS), 2020 WL


    in prison are exploding. More people need to be let out, WASH. POST (Aug. 21, 2020),
    https://www.washingtonpost.com/opinions/coronavirus-cases-in-prisons-are-exploding-more-people-
    need-to-be-let-out/2020/08/21/711b7b9a-e306-11ea-8dd2-d07812bf00f7_story.html.
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       See Sentencing Resource Counsel for the Federal Public Community Defenders, The Covid-19 Crisis
    in Federal Detention (Sept. 9, 2020), http://www.fd.org/sites/default/files/covid19/sentencing_advocacy
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    1489829, at *3 (S.D.N.Y. Mar. 27, 2020). In another recent decision from S.D.N.Y, while an

    inmate's request for modification to time served was denied without prejudice, his alternative

    request for a recommendation that the BOP allow him to serve the rest of his sentence in a halfway

    house and home confinement instead of New York's Metropolitan Correctional Center was

    granted. Judge Engelmayer cited the “heightened health risk” and explained that “at the time of

    sentencing, the Court did not know, and could not have known, that at least a substantial portion

    of [defendant's] final seven months of imprisonment would be served at a time of worldwide

    pandemic, which is directly impacting the facility at which [defendant] is incarcerated.” See United

    States v. Knox, No. 15 CR. 44 (PAE), 2020 WL 1487272, at *2 (S.D.N.Y. Mar. 27, 2020); see also

    United States v. Zukerman, No. 1:16-cr-194 (AT), ECF No. 116 (S.D.N.Y. Apr. 3, 2020) (ordering

    modification of term of imprisonment to home confinement rather than making a recommendation

    to the BOP). Lastly, in a decision from the Eastern District of New York, Judge Kiyo Matsumoto

    granted defendant's Section 3582 motion, stating “[t]he court cannot glean what ends of justice

    may be served by keeping Mr. Hansen incarcerated,” and acknowledging, in addition to Mr.

    Hansen’s medical issues, “the unique risks posed by the COVID-19 pandemic to prisoners like

    Mr. Hansen, who is elderly and infirm.” See United States v. Hansen, No. 1:07-cr-00520 (KAM),

    ECF No. 213, (E.D.N.Y. Apr. 8, 2020), at 23.

           In reducing the spread of COVID-19 infections within the criminal justice system, courts

    have also been forced to re-think the circumstances under which an individual should be detained.

    Successful requests for bail pending sentencing that rely on COVID-19 have largely emphasized

    health concerns. But these decisions have varied widely. In one case, a diabetic paraplegic with a

    catheter was denied bail. See United States v. Witter, No. 19-cr-0568 (ECF 40) (S.D.N.Y. Mar. 26,




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    2020). In other cases, asthma was sufficient. See United States v. McKenzie, No. 18 CR. 834

    (PAE), 2020 WL 1503669, at *1 (S.D.N.Y. Mar. 30, 2020); United States v. Nkanga Nkganga,

    No. 18-CR-713 (JMF), 2020 WL 1529535, at *3 (S.D.N.Y. Mar. 31, 2020) (noting in dicta that

    exceptional reasons existed). Overall, the question requires a case-by-case inquiry. See United

    States v. Roeder, 807 F.App’x 157, 160–61 (3d Cir. 2020) (“[T]he existence of a widespread health

    risk is not, without more, a sufficient reason for every individual subject to a properly imposed

    federal sentence of imprisonment to avoid or substantially delay reporting for that sentence.”).




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                                           CONCLUSION

           For the reasons explained above and in Clare Bronfman’s sentencing submission dated

    August 28, 2020, a Guidelines or above Guidelines sentence in this case will not serve any

    deterrent effect and will certainly be a sentence “greater than necessary” to achieve 18 U.S.C.

    Section 3553(a)’s objectives. Clare Bronfman should be held responsible for the conduct she

    actually committed, not incorrect and unproven allegations for which she was never charged or

    convicted. In light of the federal sentencing factors, as well as legitimate safety concerns

    surrounding COVID-19, the appropriate sentence for Clare Bronfman is three years of probation.



    Dated: September 22, 2020                          Respectfully submitted,
           New York, New York

                                                       Ronald S. Sullivan, Jr., Esq.
                                                       Ronald Sullivan Law, PLLC
                                                       1300 I Street, N.W.
                                                       Suite 400 E
                                                       Washington, D.C. 20005
                                                       (202) 935-4347

                                                       Duncan Levin, Esq.
                                                       Tucker Levin, PLLC
                                                       230 Park Avenue, Suite 440
                                                       New York, New York 10169
                                                       (212) 330-7626

                                                       Attorneys for Defendant Clare Bronfman




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